          Case 2:08-cr-00363-WBS Document 102 Filed 08/05/10 Page 1 of 4


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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        [PROPOSED] ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )
14                                 )
                                   )        Date:    August 6 2010
15             Defendants.         )        Time:    9:00 a.m.
     ______________________________)        Judge:   Hon. Garland E.
16                                                   Burrell

17
          IT IS HEREBY stipulated between the United States of America
18
     through its undersigned counsel, Michael M. Beckwith, Assistant
19
     United States Attorney, together with counsel for defendant David
20
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
21
     Leigh Canham, Dennis S. Waks Esq., request that the status
22
     conference currently set for August 6, 2010, be continued to
23
     October 8, 2010, and stipulate that the time beginning August 6,
24
     2010, and extending through October 8, 2010, should be excluded
25
     from the calculation of time under the Speedy Trial Act.         The
26
     parties request to exclude time for defense preperation.         This
27
     matter involves a   wire intercept on several telephones and
28
                                        1
          Case 2:08-cr-00363-WBS Document 102 Filed 08/05/10 Page 2 of 4


 1   related pen registers, as well as over 3000 pages of discovery.

 2        The parties stipulate and agree that the interests of

 3   justice served by granting this continuance outweigh the best

 4   interests of the public and the defendants in a speedy trial. 18

 5   USC § 3161(h)(7)(B)(iv) and (Local T-4).

 6   IT IS SO STIPULATED.

 7

 8   Dated: August 3, 2010                      /s/ John R. Manning
                                              JOHN R. MANNING
 9                                            Attorney for Defendant
                                              David Robbie Forkner
10

11   Dated: August 3, 2010                   /s/ John R. Manning for
                                           DENNIS S. WAKS
12                                         Attorney for Defendant
                                           Loretta Leigh Canham
13

14
     Dated: August 3, 2010                    Benjamin B. Wagner
15                                            United States Attorney

16
                                        by:     /s/ John R. Manning for
17                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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 1

 2                      IN THE UNITED STATES DISTRICT COURT

 3                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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 5   UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
                                     )
 6                   Plaintiff,      )
                                     )
 7        v.                         ) [PROPOSED] ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 8   David Forkner and               )
     Loretta Canham,                 )
 9                                   )
                                     )
10                   Defendants.     )
     _______________________________ )
11

12          GOOD CAUSE APPEARING, it is hereby ordered that the August 6,

13   2010 status conference be continued to October 8, 2010 at 9:00

14   a.m.     I find that the ends of justice warrant an exclusion of time

15   and that the defendant’s need for continuity of counsel and

16   reasonable time for effective preparation exceeds the public

17   interest in a trial within 70 days.          THEREFOR IT IS FURTHER

18   ORDERED that time be excluded pursuant to 18 U.S.C. § 3161

19   (h)(7)(B)(iv) and Local Code T4 from the date of this order to

20   October 8, 2010.

21
     IT IS SO ORDERED.
22
     Dated:    August 4, 2010
23

24

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26
                                       GARLAND E. BURRELL, JR.
27
                                       United States District Judge
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                                            3
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